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                EXHIBIT A
                  Part 2
                                                                               Case 3:17-cv-00621-KAD Document 1-2 Filed 04/13/17 Page 2 of 6
Aetna                                                                                                      The Rawlings Company                   Wednesday, November 16, 2016 10:59 am

 .C.16,..1,G41,...   s.   J.M....G.   ANYLLY.I.I.C.   ..."./..11,5,..410.1-1
                                                                                                                          •                            ......1,1   4,11.1.,•11/. L.   *JUL j Cl.: ,   LA,   %-.110.11,g C •

                                                                                                   The Rawlings Company LLC                           Please call (502) 716-6980
Member's Name: NELLINA GUERRERA                                                                    Attn: Kevin E. James J.D.                               for the final paid amount.
                                                                                                   The Rawlings Company, Subrogation Division         Representative: Kevin E. James J.D.
File Number: 15UMD0800268                                                                          P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.                                                  Provider or Drug Name   ICD     ICD Desc.        CPT       CPT Desc.                          Bill Amount Paid Amount
    08/25/2015                         08/25/2015                     150912E0634200     ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                           $79.56                       $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
    08/28/2015                         08/28/2015                     150914E6992700     ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
    08/31/2015                         08/31/2015                     150915E4545100     ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
    09/04/2015                         09/04/2015                     150909E8353800     THE ORTHOPAEDIC         840.4   SPRAIN/STRAIN,   99213     OFFICE/OUTPT                              $125.00                         $57.85
                                                                                                                         ROTATOR CU                 VISIT, EST,
                                                                                                                                                    EXP PROB
    09/04/2015                         09/04/2015                     150925E7413100     ORTHONET LLC            840.4   SPRAIN/STRAIN,   G8427     DOC MEDS                                      $0.01                        $0.00
                                                                                                                         ROTATOR CU                 VERIFIED W/PT
                                                                                                                                                    OR RE
    09/04/2015                         09/04/2015                     150925E7413100     ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
    09/15/2015                         09/15/2015                     151001E6650300     ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.561
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
    09/16/2015                        09/16/2015                      150923E0339301     BRIDGEPORT HOSP         618.1   PRLPS, UTE W/O                                                       $147.00                         $95.77
                                                                                                                         VAGINAL WA
    09/17/2015                        09/17/2015                     151001E6650300      ORTHONET LLC            840.4   SPRAIN/STRAIN,   G8427     DOC MEDS                                      $0.01                        $0.00.
                                                                                                                         ROTATOR CU                 VERIFIED W/PT
                                                                                                                                                    OR RE
   09/17/2015                         09/17/2015                     151001E6650300      ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN
   09/22/2015                         09/22/2015                     151002E6185900      ORTHONET LLC            840.4   SPRAIN/STRAIN,   G8427     DOC MEDS                                      $0.01                        $0.00
                                                                                                                         ROTATOR CU                 VERIFIED W/PT
                                                                                                                                                    OR RE
   09/22/2015                         09/22/2015                     151002E6185900      ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                                          $79.56                        $59.56
                                                                                                                         ROTATOR CU                 PROC,l+AREA,TX
                                                                                                                                                    EXER, EA 15
                                                                                                                                                    MIN



Please write this number on your check: 15UMD0800268                                                               5                                                     Tax Id Number: XX-XXXXXXX
                                   Case 3:17-cv-00621-KAD Document 1-2 Filed 04/13/17 Page 3 of 6
Aetna                                                         The Rawlings Company                         Wednesday, November 16, 2016 10:59 am

Patient's Name: NELLINA GUERRERA                         Make Checks Payable To:                               Paid Amount Subject to Change.
                                                         The Rawlings Company LLC                              Please call (502) 716-6980
Member's Name: NELLINA GUERRERA                          Attn: Kevin E. James J.D.                                  for the final paid amount.
                                                         The Rawlings Company, Subrogation Division            Representative: Kevin E. James J.D.
File Number: 15UMD0800268                                P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.        Provider or Drug Name   ICD     ICD Desc.           CPT       CPT Desc.        Bill Amount Paid Amount
  09/25/2015     09/25/2015   151012E7383300   ORTHONET LLC            840.4   SPRAIN/STRAIN,      G8427     DOC MEDS               $0.01        $0.00
                                                                               ROTATOR CU                    VERIFIED W/PT
                                                                                                             OR RE
  09/25/2015     09/25/2015   151012E7383300   ORTHONET LLC            840.4   SPRAIN/STRAIN,      97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                    PROC,l+AREA,TX
                                                                                                             EXER, EA 15
                                                                                                             MIN
  09/29/2015     09/29/2015   151012E8555700   ORTHONET LLC            840.4   SPRAIN/STRAIN,      97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                    PROC,l+AREA,TX
                                                                                                             EXER, EA 15
                                                                                                             MIN
  10/02/2015     10/02/2015   151029E5805500   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56       $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  10/06/2015     10/06/2015   151029E5805500   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56       $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  10/09/2015     10/09/2015   151103E7961500   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56      $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  10/16/2015     10/16/2015   151110E8954400   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56      $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  10/20/2015     10/20/2015   151110E6435900   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56      $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic




Please write this number on your check: 15UMD0800268                     6                                               Tax Id Number: XX-XXXXXXX
                                   Case 3:17-cv-00621-KAD Document 1-2 Filed 04/13/17 Page 4 of 6
Aetna                                                         The Rawlings Company                         Wednesday, November 16, 2016 10:59 am

Patient's Name: NELLINA GUERRERA                         Make Checks Payable To:                               Paid Amount Subject to Change.
                                                         The Rawlings Company LLC                              Please call (502) 716-6980
Member's Name: NELLINA GUERRERA                          Attn: Kevin E. James J.D.                                  for the final paid amount.
                                                                  •
                                                         lune Aawiings                   •
                                                                       uompany, buDrogation iiivision          representative: xevin .z. James J.D.
File Number: 15UMD0800268                                P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.        Provider or Drug Name   ICD     ICD Desc.           CPT       CPT Desc.         Bill Amount Paid Amount
  10/23/2015     10/23/2015   151110E8954300   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56       $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  10/27/2015     10/27/2015   151110E0205101   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56       $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  11/03/2015     11/03/2015   151203E0668201   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56       $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  11/03/2015     11/03/2015   160107N6558700   ORTHONET LLC            M75.101 Unspecified         97014     APPLY                 $28.00       $0.00
                                                                               rotator cuff tear             MODALITY,l+ARE:
                                                                               or rupture of                 STIM
                                                                               right shoulder,
                                                                               not specified as
                                                                               traumatic
  11/03/2015     11/03/2015   160107N6558700   ORTHONET LLC            M75.101 Unspecified         97140     MANUAL THERAPY        $65.00       $0.00
                                                                               rotator cuff tear             1+ REGIONS, EA
                                                                               or rupture of                 15 MN
                                                                               right shoulder,
                                                                               not specified as
                                                                               traumatic
  11/10/2015     11/10/2015   151208E0930501   ORTHONET LLC            M75.101 Unspecified         97110     TX                    $79.56      $59.56
                                                                               rotator cuff tear             PROC,l+AREA,TX
                                                                               or rupture of                 EXER, EA 15
                                                                               right shoulder,               MIN
                                                                               not specified as
                                                                               traumatic
  11/10/2015     11/10/2015   160107N4537700   ORTHONET LLC            M75.101 Unspecified         97014     APPLY                 $28.00       $0.00
                                                                               rotator cuff tear             MODALITY,l+ARE;
                                                                               or rupture of                 STIM
                                                                               right shoulder,
                                                                               not specified as
                                                                               traumatic



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                                      Case 3:17-cv-00621-KAD Document 1-2 Filed 04/13/17 Page 5 of 6
Aetna                                                                The Rawlings Company                       Wednesday, November 16, 2016 10:59 am

Patient's Name: NELLINA GUERRERA                             Make Checks Payable To:                                Paid Amount Subject to Change.
                                                             The Rawlings Company LLC                               Please call (502) 716-6980
------ - ______. ________ _________                          ----. ----- -. ----- -.-.
                                                             The Rawlings Company, Subrogation Division             Representative: Kevin E. James J.D.
File Number: 15UMD0800268                                    P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.            Provider or Drug Name   ICD     ICD Desc.            CPT       CPT Desc.        Bill Amount Paid Amount
  11/10/2015       11/10/2015     160107N4537700   ORTHONET LLC            M75.101 Unspecified          97140     MANUAL THERAPY        $65.00        $0.00
                                                                                    rotator cuff tear             1+ REGIONS, EA
                                                                                    or rupture of                 15 MN
                                                                                    right shoulder,
                                                                                    not specified as
                                                                                    traumatic
  11/17/2015      11/17/2015      151210E8515100   ORTHONET LLC            M75.101 Unspecified          97110     TX                    $79.56       $59.56
                                                                                    rotator cuff tear             PROC,l+AREA,TX
                                                                                    or rupture of                 EXER, EA 15
                                                                                    right shoulder,               MIN
                                                                                    not specified as
                                                                                    traumatic
  11/17/2015      11/17/2015     160107N7583000    ORTHONET LLC            M75.101 Unspecified          97140     MANUAL THERAPY        $65.00        $0.00
                                                                                    rotator cuff tear             1+ REGIONS, EA
                                                                                    or rupture of                 15 MN
                                                                                    right shoulder,
                                                                                    not specified as
                                                                                    traumatic
  11/24/2015      11/24/2015     160107N7583000    ORTHONET LLC            M75.101 Unspecified          97140     MANUAL THERAPY        $65.00        $0.00
                                                                                    rotator cuff tear             1+ REGIONS, EA
                                                                                    or rupture of                 15 MN
                                                                                    right shoulder,
                                                                                    not specified as
                                                                                    traumatic
  11/24/2015      11/24/2015     151211E7018400    ORTHONET LLC            M75.101 Unspecified          97110     TX                    $79.56       $59.56
                                                                                    rotator cuff tear             PROC,1+AREA,TX
                                                                                    or rupture of                 EXER, EA 15
                                                                                    right shoulder,               MIN
                                                                                    not specified as
                                                                                    traumatic
  12/01/2015      12/01/2015     160104E2948700    ORTHONET LLC            M75.101 Unspecified          97110     TX                    $79.56       $59.56
                                                                                    rotator cuff tear             PROC,l+AREA,TX
                                                                                    or rupture of                 EXER, EA 15
                                                                                    right shoulder,               MIN
                                                                                    not specified as
                                                                                    traumatic
  12/04/2015      12/04/2015     151208E2811900    THE ORTHOPAEDIC         S43.421ASprain of right      99213     OFFICE/OUTPT         $125.00       $57.85
                                                                                    rotator cuff                  VISIT, EST,
                                                                                    capsule, initial              EXP PROB
                                                                                    encounter
  04/26/2016      04/26/2016     160429E0728100    THE ORTHOPAEDIC         S43.421A Sprain of right     99213     OFFICE/OUTPT         $125.00       $58.01
                                                                                    rotator cuff                  VISIT, EST,
                                                                                    capsule, initial              EXP PROB
                                                                                    encounter

Please write this number on your check: 15UMD0800268                         8                                                Tax Id Number: XX-XXXXXXX
                                   Case 3:17-cv-00621-KAD Document 1-2 Filed 04/13/17 Page 6 of 6
Aetna                                                        The Rawlings Company                    Wednesday, November 16, 2016 10:59 am

Patient's Name: NELLINA GUERRERA                        Make Checks Payable To:                          Paid Amount Subject to Change.
                                                        The Rawlings Company LLC                         Please call (502) 716-6980
Member's Name: NELLINA GUERRERA                         Attn: Kevin E. James J.D.                             for the final paid amount.
                                                        The Rawlings Company, Subrogation Division       Representative: Kevin E. James J.D.
File Number: 15UMD0800268                               P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.       Provider or Drug Name   ICD   ICD Desc.          CPT     CPT Desc.        Bill Amount Paid Amount
    TOTALS                                                                                                                 $32,663.36   $9,854.16




Please write this number on your check: 15UMD0800268                    9                                          Tax Id Number: XX-XXXXXXX
